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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  LIBERTY MUTUAL INSURANCE COMPANY,
                                                               22-CV-02181 (AT) (RFT)
                        Plaintiff,
         -against-                                                     ORDER

  DAY TO DAY IMPORTS, INC., et al.,
                        Defendants.


ROBYN F. TARNOFSKY, United States Magistrate Judge.

       All discovery in this matter should now be complete; the parties were to have exchanged

Rule 56.1 Statements on March 25, 2024; initial pre-motion letters in connection with any

anticipated summary judgment motion must be filed in accordance with Judge Torres’ Individual

Practices by May 8, 2024; and opposition letters must be filed by May 15, 2024.

       This matter is scheduled for a telephonic status conference at 12:00 PM on May 6, 2024.

Counsel for the parties are directed to call my conference line at the scheduled time by dialing

(646) 453-4442, Access Code: 134 376 962 #. The parties should be prepared to discuss whether

the Court can assist with settlement talks at this time.



Dated: May 2, 2024
       New York, New York

                                              SO ORDERED.


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                                              ROBYN F. TARNOFSKY
                                              United States Magistrate Judge
